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                          UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                FT. LAUDERDALE DIVISION

                        Case Number: 19-62039-CIV-MARTINEZ/SNOW

  NICOLE RAMOS,

         Plaintiff,

  v.

  DELPHI BEHAVIORAL HEALTH GROUP, LLC,

        Defendant.
  __________________________________________/

              ORDER DENYING MOTION TO STRIKE AND FOR SANCTIONS

         THIS CAUSE comes before the Court upon Plaintiff’s Motion to Strike Defendant’s

  Motion for Summary Judgment and Motion for Sanctions (“Motion”). (ECF No. 82). After careful

  consideration of the Motion and the pertinent portions of the record, the Court finds that the Motion

  is DENIED.

        I.   BACKGROUND

         Plaintiff, Nicole Ramos, commenced this action against Defendant, Delphi Behavioral

  Health Group, pursuant to the Family Medical Leave Act (“FMLA”). Defendant is a drug and

  alcohol addiction treatment facility. Plaintiff worked for Defendant as its Revenue Cycle Manager.

  Plaintiff alleges that Defendant interfered with her FMLA rights and retaliated against her by

  terminating her for taking an extended FMLA leave. (See Compl., ECF No. 1).

         Defendant moved for summary judgment on Plaintiff’s claims. In its Motion for Summary

  Judgment, Defendant argues that

             Plaintiff was discharged solely as a result of her engaging in illegal drug usage (with
             one of her subordinates no less), bringing to work and giving him a vape pen (which
             Delphi understood was most commonly used for smoking marijuana), and lying during


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              Delphi’s formal investigation, all of which was in direct violation of Delphi’s policies,
              and which are listed as grounds for termination.

  (Mot. Summ. J., at 5, ECF No. 78). In support of its arguments, Defendant attaches text messages

  exchanged between Plaintiff and her subordinate, Stanley Laguerre (the “Text Messages”). (See

  Def.’s SOMF, Ex. E, ECF No. 79-5).

          Plaintiff, in turn, moved to strike Defendant’s Motion for Summary Judgment on the basis

  that it allegedly relies on information obtained from an illegally recorded interview and on

  evidence derived therefrom, i.e., the Text Messages. The interview in question took place on June

  25, 2019, when Human Resources (“HR”) representatives Isabelle Garcia and Jackie Ayers

  conducted a telephonic interview of Laguerre in connection with an internal investigation. (Dep.

  Isabelle Garcia (“Garcia Dep.”), at 70:19–71:21, ECF No. 82-1). Ayers recorded the interview

  without Laguerre’s knowledge (the “Recorded Interview”). (Id.; see also Recorded Interview,

  ECF No. 94-6).1        The investigation began because Plaintiff complained that Laguerre was

  engaging in misconduct. (Compl. ¶¶ 22–23). As part of the same internal investigation, a second

  interview with Laguerre took place on June 27, 2019 (the “Second Interview”). (Decl. Stanley

  Laguerre (“Laguerre Decl.”) ¶ 5, ECF No. 93-3). The second interview was not recorded. (Decl.

  Isabelle Garcia (“Garcia Decl.”) ¶ 7, ECF No. 93-1). On that same day, Laguerre voluntarily sent

  the Text Messages to Defendant’s HR representatives. (See Text Messages, ECF No. 94-5;

  Laguerre Decl. ¶ 6).




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    The Court reviewed both the audio recording of the Recorded Interview provided by Defendant to the
  Court via e-mail correspondence and the transcript of the same (ECF No. 94-6) and found that in some
  instances, the transcript does not coincide with the recording. Therefore, the Court relies on the recording—
  as opposed to the transcript—in rendering its findings.



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       II.      ANALYSIS

           Plaintiff claims that recording the interview that took place on June 25, 2019 was illegal,

  in violation of the Florida Security of Communications Act, Fla. Stat. § 934.01, et seq., and the

  Federal Wiretap Act, 28 U.S.C. § 2511, 2515. She further contends that neither the contents of

  the interview nor the Text Messages can be used in these proceedings because they are derived

  from the allegedly illegal Recorded Interview. (See Mot. Strike, at 5–7). Defendant, on the other

  hand, argues that Plaintiff does not have standing to challenge the Recorded Interview; that

  Defendant did not use or disclose the contents of the Recorded Interview in its Motion for

  Summary Judgment; and that the contents of the Text Messages are admissible, and therefore the

  references to the Text Messages in the Motion for Summary Judgment should not be stricken. (See

  id. at 4).2

                A. Legal Standard

           Florida and federal law “generally prohibits, among other things, the recording of ‘oral

  communication[s]’ without the consent of all participants to the conversation.” Woliner v.

  Summers, 796 Fed. App’x 649, 651 (11th Cir. 2019) (quoting Fla. Stat. §§ 934.03(1)(a)–(b))

  (alterations in original); 18 U.S.C. § 2510, et seq.3 The statutes also prohibit the use of any “part

  of the contents of such communication and [any] evidence derived therefrom [as] evidence in any

  trial, hearing or other proceeding in or before any court[.]” Fla. Stat. § 934.06 (emphasis added);

  18 U.S.C. § 2515; see also Woliner, 796 Fed. App’x at 651; Burgess v. Burgess, 447 So. 2d 220,



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    Defendant also argues that no violation of the Federal Wiretap Act occurred by Defendant’s recording of
  the interview. Because the Court finds that Plaintiff lacks standing to challenge the Recorded Interview
  and Text Messages, as further explained infra in Section II.B, it does not find it necessary to rule on whether
  the Recorded Interview is illegal pursuant to the Florida Statutes and the Federal Wiretap Act.
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   The Federal Wiretap Act and Chapter 934 of the Florida Statutes are virtually identical, and the Court will
  analyze them simultaneously.


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  224 (Fla. 1984). An “aggrieved person in any trial, hearing, or proceeding in or before any court

  [] may move to suppress the contents of any intercepted [communication] or evidenced derived

  therefrom[.]” Fla. Stat. 934.09(10)(a).

               B. Plaintiff Lacks Standing to Challenge Defendant’s Use of the Recorded
                  Interview and Text Messages

            An intercepted oral communication may only be challenged by an “aggrieved person” as

  that term is defined by the Florida Statutes and the Federal Wiretap Act. An “‘aggrieved person’

  means a person who was a party to any intercepted wire, oral, or electronic communication or a

  person against whom the interception was directed.” Fla. Stat. § 934.02(9); 18 U.S.C. § 2510(11).

  A statement is considered an “oral communication” only if the speaker had a “reasonable

  expectation of privacy, which includes a subjective as well as an objective expectation, i.e.,

  whether society is prepared to recognize this expectation as reasonable. Woliner, 796 Fed. App’x

  at 651.

            To have standing to challenge the interception of conversations, Plaintiff, as the person

  challenging the conversations, must show that: “(1) [s]he was a party to the communication, (2)

  the wiretap efforts were directed at [her], or (3) the interception took place on [her] premises.” See

  United States v. Faulkner, 439 F.3d 1221, 1223 (10th Cir. 2006); see In re Grand Jury 86-3, 673

  F. Supp. at 1571; Mozo v. State, 632 So. 2d 623, 625 (Fla. 4th DCA 1994) (citing Alderman, 394

  U.S. at 171–74). The standing analysis implements existing principles governing standing to

  suppress wiretaps made in violation of the Fourth Amendment. See In re Grand Jury 86-3

  (Miami), 673 F. Supp. 1569, 1571 (S.D. Fla. 1987); Alderman v. United States, 394 U.S. 165, 175–

  76 (1969); Woliner, 796 Fed. App’x at 651 (citing Stevenson v. State, 667 So. 2d 410, 412 (Fla.

  1st DCA 1996)).




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         The Court has inspected the contents of the Recorded Interview and finds that Plaintiff is

  not an aggrieved party. First, it is undisputed that Plaintiff was not a party to the phone

  conversation. The interview was between Laguerre, Ayers, and Garcia. Second, the interception

  was not directed at Plaintiff; instead, it was directed at Laguerre. The Recorded Interview took

  place as part of an internal investigation against Laguerre, which was initiated after Plaintiff

  complained of Laguerre’s misconduct. (See Garcia Decl. ¶ 4; Compl. ¶¶ 22–23). The investigation

  was not about Plaintiff, nor was Plaintiff’s illegal activity discussed during the Recorded Interview.

  Finally, the Recorded Interview did not take place on Plaintiff’s premises. During the phone

  conversation, Laguerre was in his car, (see Recorded Interview), and Garcia and Ayers were at

  Defendant’s premises, (see Garcia Dep., at 71:3–18, ECF No. 82-1).

         Plaintiff’s reliance on the Florida Supreme Court’s decision in In re Grand Jury

  Investigation, 287 So. 2d 43, is misplaced. The Florida Supreme Court did not hold that “a party

  has standing to suppress evidence pursuant to Fla. Cap. 934, et seq. if the communication ‘might

  tend to involve’ the witness[,]” as Plaintiff would like this Court to believe. (Pl.’s Reply, at 2,

  ECF No. 102). The Court in In re Grand Jury Investigation was faced with the question of whether

  a witness in a grand jury proceeding has standing to challenge a wiretap interception. First, the

  Court summarily decided that the movant was “clearly” an aggrieved person within the definition

  of the Florida Statutes. In re Grand Jury Investigation, 287 So. 2d 43, 46. Yet, the Court provided

  no background as to what the witness’s involvement in the intercepted communication was, or any

  other analysis as to why the witness was “clearly” an aggrieved person. Without more, the Court

  moved on to answer the question of whether the movant, as an aggrieved person, was involved in

  a proceeding in or before a court, i.e., whether a grand jury proceeding was a “proceeding in or

  before a court” for purposes of the statute. Id. It was only after answering these two questions in




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  the affirmative that the Court answered the question of whether the movant, as an aggrieved person

  involved in a proceeding in or before a court, could suppress “a wiretap communication involving

  him or which could or might tend to involve him[.]” Id. at 47. The Court found that he could.

  Id.

         Nowhere in its opinion does the Florida Supreme Court hold that any person could

  challenge an intercepted communication which could or might tend to involve her. Nor could this

  Court do so given the well-established statutes, case law, and principles of the Fourth Amendment.

  See, e.g., Alderman, 394 U.S. at 171–74 (“The established principle is that suppression of the

  product of a Fourth Amendment violation can be successfully urged only by those whose rights

  were violated by the search itself, not by those who are aggrieved solely by the introduction of

  damaging evidence.”); In re Grand Jury 86-3 (Miami), 673 F. Supp. at 1571 (holding that a movant

  who “was not a party to the intercepted conversation[,] . . . was not a person against whom any

  interception was directed, and no intercepted conversation occurred on his premises” had no

  standing to challenge the interception).

         For these reasons, Plaintiff lacks standing to challenge the Recorded Interview or any

  evidence derived therefrom.

             C. The Text Messages are not Derived from the Recorded Interview

         As a threshold matter, it is apparent to the Court after careful review of the Recorded

  Interview, the Motion for Summary Judgment, and the Statement of Material Facts that Defendant

  does not reveal or rely on the contents of the Recorded Interview in its pleadings, and only relies

  on the Text Messages. (See Mot. Summ. J., at 2, 10–11; Def.’s Statement of Material Facts, Ex.

  E, ECF No. 79-5). As such, the Court need only address the propriety of Defendant’s use of the

  Text Messages in its Motion for Summary Judgment.




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         Even assuming arguendo that Plaintiff had standing to challenge the use of the Recorded

  Interview, the Court finds that the Text Messages are not “derived” from the allegedly illegal

  Recorded Interview. The Supreme Court has recognized that not all evidence is “‘fruit of the

  poisonous tree’ simply because it would not have come to light but for the illegal actions[.]” Wong

  Sun v. United States, 371 U.S. 471, 488 (1963); see United States v. Delancy, 502 F.3d 1297, 1309

  (11th Cir. 2007). The Court must look at “whether, granting establishment of the primary

  illegality, the evidence to which instant motion is made has been come at by exploitation of that

  illegality or instead by means sufficiently distinguishable to be purged of the primary taint.”

  Delancy, 502 F.3d at 1309.

         In this case, the Recorded Interview took place on June 25, 2019. During that interview,

  Garcia, Laguerre, and Ayers discussed issues related to his purported misconduct. In particular,

  he was asked whether he owned a gun and whether he had brought a gun to work. Laguerre also

  discussed other issues he was having with another employee in the same department. At no point

  during the Recorded Interview did Laguerre mention any illegal activity on Plaintiff’s part. He

  only mentioned that he had been at Plaintiff’s home on one occasion. While it is true that Garcia

  and Ayers requested text messages from Laguerre at the end of this interview, these text messages

  had been previously discussed during the interview and did not relate to Plaintiff. On June 27,

  2019, the Second Interview with Laguerre took place as part of the ongoing internal investigation.

  This Second Interview was not recorded. It was after the Second Interview that Laguerre sent the

  relevant Text Messages between him and Plaintiff to Garcia. (Laguerre Decl. ¶¶ 5–6). This is

  further confirmed by the date on the e-mail where Laguerre sent the Text Messages to Garcia.

  According to the e-mails, the Text Messages were sent to Garcia on June 27, 2019, the same day

  as the Second Interview. (See Text Messages, at 2, 6–7, ECF No. 94-5). Laguerre sent the Text




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  Messages to Defendant only in response to the conversation that took place during the Second

  Interview. Therefore, the Text messages are “sufficiently distinguishable to be purged of the

  primary taint” of the Recorded Interview. See Delancy, 502 F.3d at 1309.

     III.   CONCLUSION

         For the foregoing reasons, it is

         ORDERED AND ADJUDGED that Defendant’s Motion to Strike Defendant’s Motion
  for Summary Judgment and Motion for Sanctions (ECF No. 82) is DENIED.

         DONE and ORDERED in Chambers at Miami, Florida this 8th day of February 2021.



                                                     ________________________________
                                                     JOSE E. MARTINEZ
                                                     UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Magistrate Judge Snow
  All counsel of record




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